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 9
                              UNITED STATES DISTRICT COURT
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11                          CENTRAL DISTRICT OF CALIFORNIA
12
13     KAILA SAIKI and RAYMOND SAIKI,            Case No. 2:21-cv-2948
14     on behalf of themselves and all others
       similarly situated,
15                                               CLASS ACTION COMPLAINT
16                                 Plaintiffs,
             v.
17                                               JURY TRIAL DEMANDED
18     VIRGIN SCENT, INC. d/b/a
       ARTNATURALS, INC.,
19
20                                 Defendant.
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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 1            Plaintiffs Kaila Saiki and Raymond Saiki (“Plaintiffs”), individually and on
 2      behalf of all others similarly situated, allege the following on the investigation of
 3      their counsel and upon information and belief, except as to Plaintiffs’ allegations
 4      regarding their own actions which are based on personal knowledge.
 5                                  NATURE OF THE ACTION
 6            1.     This is a class action lawsuit regarding Defendant Virgin Scent, Inc.
 7      d/b/a Artnaturals, Inc.’s (“Artnaturals” or “Defendant”) manufacturing, distribution,
 8      and sale of hand sanitizer that contains dangerously high levels of Benzene, a
 9      carcinogenic impurity that has been linked to leukemia and other cancers.
10            2.     In addition, Artnaturals represented that its hand sanitizer contained
11      only “Natural Elements.” In fact, Artnaturals’ hand sanitizer contained the
12      dangerous chemical compound Benzene. Thus, Defendant falsely and knowingly
13      misrepresented that its hand sanitizer was “natural” in order to sell its hand sanitizers
14      to consumers at a premium price.
15            3.     Since the outbreak of the coronavirus, hand sanitizers have become a
16      hot commodity. A Wall Street Journal article reported that sales of hand sanitizer in
17      the United States jumped 600% in 2020 to $1.3 billion, compared to a year earlier.1
18      One of the beneficiaries of this boost in hand sanitizer sales was Defendant.
19      Defendant sells a particular model of hand sanitizer labeled as “artnaturals hand
20      sanitizer SCENT FREE NATURAL ELEMENTS + CLEANSING FORMULA 8 fl
21      oz (236 ml)” (the “Hand Sanitizer”).
22            4.     The Hand Sanitizer is a gel hand sanitizer product, as compared to
23      liquid or foam hand sanitizer products.
24
25
        1
         Sharon Terlep, Hand Sanitizer Sales Jumped 600% in 2020. Purell Maker Bets
26      Against a Post-Pandemic Collapse, THE WALL STREET J., Jan. 22, 2021, https://
27      www.wsj.com/articles/hand-sanitizer-sales-jumped-600-in-2020-purell-maker-bets-
        against-a-post-pandemic-collapse-11611311430.
28
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 1            5.     Benzene is not one of the listed active ingredients on the Hand
 2      Sanitizer’s label.
 3            6.     Each bottle of the Hand Sanitizer prominently includes the
 4      representation that the Hand Sanitizer uses “Natural Elements” on the label, not to
 5      mention that Defendant has the word “natural” in its name, which is also
 6      prominently displayed on the bottle:
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        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                          2
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 1
 2            7.    The label for the Hand Sanitizer also tells consumers that the product
 3      allows them to “shield [their] hand from germs & infection naturally,” and that the
 4      Hand Sanitizer is “plant based”:
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22            8.    These representations are false and misleading because the Hand
23      Sanitizer contains Benzene, a carcinogenic chemical impurity that has been linked to
24      leukemia and other cancers. Further, the presence of Benzene in the Hand Sanitizer
25      renders the product unsafe and worthless.
26            9.    Benzene is a component of crude oil, gasoline, and cigarette smoke, and
27      is one of the elementary petrochemicals. The Department of Health and Human
28
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 1      Services has determined that benzene causes cancer in humans. Likewise, the Food
 2      and Drug Administration (“FDA”) lists Benzene as a “Class 1 solvent” that “should
 3      not be employed in the manufacture of drug substances, excipients, and drug
 4      products because of [its] unacceptable toxicity.” Benzene is associated with blood
 5      cancers such as leukemia.
 6              10.   According to the National Institute for Occupational Safety and Health,
 7      humans can become exposed to Benzene through “inhalation, skin absorption,
 8      ingestion, skin and/or eye contact.” Skin absorption is particularly concerning as
 9      there have been multiple FDA studies showing that structurally similar chemicals in
10      sunscreen products are found in the blood at high levels after application to exposed
11      skin.
12              11.   In order to compensate for increased demand for hand sanitizers, the
13      FDA announced on June 1, 2020 that is temporarily allowing up to 2 parts per
14      million of benzene in liquid hand sanitizer products. Benzene is a component in the
15      manufacture of liquid hand sanitizers.
16              12.   However, this guidance does not apply to gel and foam hand sanitizer,
17      which make up most of the U.S. hand sanitizer market. This suggests that there is no
18      acceptable level of benzene in gel and foam hand sanitizers because these products
19      do not require benzene for their manufacture.
20              13.   On March 24, 2021, Valisure, an online pharmacy registered with the
21      FDA, “detected high levels of benzene and other contaminants in specific batches of
22      hand sanitizer products containing active pharmaceutical ingredients of ethanol and
23      isopropanol.”2
24
25
        2
26       VALISURE, VALISURE CITIZEN PETITION ON HAND SANITIZER PRODUCTS
        CONTAINING BENZENE CONTAMINATION AND OTHER SIGNIFICANT ISSUES, Mar. 24,
27      2021, https://www.valisure.com/wp-content/uploads/Valisure-FDA-Citizen-Petition-
        on-Hand-Sanitizer-v4.14.pdf (the “Valisure Petition”), at 1.
28
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 1               14.     Valisure tested the Hand Sanitizer manufactured by Defendant, which
 2      was found to contain between 15.2 to 16.1 parts per million of Benzene3:
 3          Benzene       Brand and      Type      Product       Manufacturing/Distributing
 4           Mean           Label                  Code(s)              Label Text
             (ppm         Description
 5            +/-
 6           %SD)
            16.1 +/-     artnaturals    Gel     UPC:         DIST. BY artnaturals ®
 7
            3%           hand sanitizer         816820028205 Gardena, CA 90248
 8                       SCENT                  NDC:
 9                       FREE                   74642-000    MADE IN CHINA
                         NATURAL
10                       ELEMENTS
11                       +
                         CLEANSING
12                       FORMULA
13                       8 fl oz (236
                         ml)
14          15.2 +/-     artnaturals            UPC:         DIST. BY artnaturals ®
                                        Gel
15          3%           hand sanitizer         816820028205 Gardena, CA 90248
                         SCENT                  NDC:
16                       FREE                   74642-000    MADE IN CHINA
17                       NATURAL
                         ELEMENTS
18                       +
19                       CLEANSING
                         FORMULA
20                       8 fl oz (236
21                       ml)

22               15.     Defendant’s Hand Sanitizer has the highest levels of Benzene of all of

23      the hand sanitizer products tested by Valisure.

24               16.     The levels of Benzene in the Hand Sanitizer are eight times the

25      permissible level of Benzene for liquid hand sanitizers (which, again, is 2 parts per

26      million). However, because the Hand Sanitizer is a gel product, there is no

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            Id. at 14.
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 1      permissible level for Benzene because Benzene is not required for the manufacture
 2      of gel hand sanitizers.
 3            17.    Ironically, Defendant has previously touted its safety record. In
 4      December 2020, when other hand sanitizers were being inspected or recalled due to
 5      efficacy and safety concerns, Defendant put out the following statement:
 6
              Due to the global demand for sanitizing and personal protective
 7            products, hand sanitizer sales have grown at an unprecedented and
              exponential rate. With this demand, poorly formulated hand
 8            sanitizers made their way into the market, causing a massive recall
              of certain brands of hand sanitizer.
 9
10            Earlier this year the FDA warned that certain hand sanitizers may
              not be able to properly clean and sanitize hands, due to insufficient
11            levels of ethyl alcohol and isopropyl alcohol. On top of that, the
              agency has announced that certain hand sanitizers have tested
12            positive for methanol, a type of alcohol that can be toxic when
13            applied to your hands, and dangerous when ingested.

14            The FDA released a list of 149 sanitizers that they deemed unsafe to
              use. One name you will not find that list is artnaturals! Your
15            safety is our number one priority and we are committed to
              providing you with top of the line high-quality ingredients to
16            keep you and your family safe.
17
              …
18
              Always be cautious of what is going into the products that you and
19            your family use everyday, and know you can trust artnaturals
20            with any and all of your sanitizing needs!4

21            18.    Further, the Benzene contamination renders Defendant’s representation
22      that the Hand Sanitizer contains “Natural Elements,” that the Hand Sanitizer
23      “shield[s] your hands from germs & infection naturally,” that the Hand Sanitizer is
24      “plant based,” and that the Hand Sanitizer is naturally made based on Defendant’s
25      own name, which includes the word “natural,” false and misleading. Benzene is
26      4
          HAND SANITIZER RECALL, AND WHAT YOU SHOULD KNOW (Dec. 28, 2020),
27      https://artnaturals.com/blog/hand-sanitizer-recall-and-what-you-should-know.html
        (emphasis added).
28
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 1      neither a plant-based nor a natural ingredient, and the Hand Sanitizer is not “natural”
 2      as such.
 3            19.     Plaintiffs and the Class were injured by the full purchase price of the
 4      Hand Sanitizer. The Hand Sanitizer is worthless, as it contains harmful levels of
 5      Benzene. As the Hand Sanitizer exposes consumers to Benzene well above the legal
 6      limit, the Hand Sanitizer is not fit for use by humans. Plaintiff is further entitled to
 7      damages for the injury sustained in being exposed to high levels of acutely-toxic
 8      Benzene, damages related to Defendant’s conduct, and injunctive relief.
 9            20.     Further, Plaintiffs and the Class paid a price premium for the Hand
10      Sanitizer based on the representation that the Hand Sanitizer was a “natural” product.
11      This representation was false and misleading because the Hand Sanitizer contains
12      high levels of acutely-toxic Benzene, which is neither plant-based nor a natural
13      ingredient. Had Plaintiffs and the Class known that the Hand Sanitizer was not a
14      “natural” product,” they would not have purchased the Hand Sanitizer, or would
15      have paid significantly less for it.
16            21.     In sum, Plaintiffs seek to recover based on two theories of liability: (i)
17      that the Hand Sanitizer was defective, worthless, and unfit for human use due to the
18      presence of Benzene, a carcinogenic and toxic chemical impurity, and (ii) that
19      Plaintiffs paid a price premium for the Hand Sanitizer based on representations that
20      the Hand Sanitizer was a “natural” product, which was not true due to the presence
21      of Benzene.
22            22.     Plaintiffs bring this action on behalf of themselves and the Class for
23      equitable relief and to recover damages and restitution for: (i) unjust enrichment,
24      (ii) fraudulent concealment, (iii) fraud, (iv) conversion, (v) violation of California’s
25      Consumer Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq. (equitable relief
26      only) (“CLRA”), (vi) violation of California’s Unfair Competition Law, Cal. Bus. &
27
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                               7
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 1      Prof. Code §§ 17200, et seq. (“UCL”), and (vii) violation of California’s False
 2      Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.
 3                                             PARTIES
 4            23.    Plaintiff Kaila Saiki is a resident of Cook County, Illinois and has an
 5      intent to remain there, and is therefore a domiciliary of Illinois. On or about May 23
 6      2020, Ms. Saiki purchased a bottle of the Hand Sanitizer with her husband from a
 7      Target in Illinois. Ms. Saiki and her husband paid $4 for the bottle. When
 8      purchasing the Hand Sanitizer, Ms. Saiki reviewed the accompanying labels and
 9      disclosures, and understood them as representations and warranties by the
10      manufacturer, distributor, and pharmacy that the Hand Sanitizer was properly
11      manufactured, free from defects, and safe for its intended use. Ms. Saiki relied on
12      these representations and warranties in deciding to purchase the Hand Sanitizer
13      manufactured by Defendant, and these representations and warranties were part of
14      the basis of the bargain, in that she would not have purchased the Hand Sanitizer
15      from Defendant if she had known that it was not, in fact, properly manufactured and
16      free from defects.
17            24.    Ms. Saiki also purchased the Hand Sanitizer based on the
18      representations on the label that the Hand Sanitizer was made with “Natural
19      Elements,” that the Hand Sanitizer “shield[s] yours hand from germs & infection
20      naturally,” that the Hand Sanitizer is “plant based,” and also relied on Defendant’s
21      name, which includes the word “natural.” Ms. Saiki would not have purchased the
22      Hand Sanitizer had she known the Hand Sanitizer was not “natural,” but in fact
23      contained an ingredient that was a harmful chemical impurity (i.e., a non-natural
24      ingredient). Ms. Saiki paid a price premium for the Hand Sanitizer over and above
25      other hand sanitizers that did not purport to be natural.
26            25.    Plaintiff Raymond Saiki is a resident of Cook County, Illinois and has
27      an intent to remain there, and is therefore a domiciliary of Illinois. On or about May
28
        CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                           8
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 1   23 2020, Mr. Saiki purchased a bottle of the Hand Sanitizer with his wife from a
 2   Target in Illinois. Mr. Saiki and his wife paid $4 for the bottle. When purchasing
 3   the Hand Sanitizer, Mr. Saiki reviewed the accompanying labels and disclosures, and
 4   understood them as representations and warranties by the manufacturer, distributor,
 5   and pharmacy that the Hand Sanitizer was properly manufactured, free from defects,
 6   and safe for its intended use. Mr. Saiki relied on these representations and
 7   warranties in deciding to purchase the Hand Sanitizer manufactured by Defendant,
 8   and these representations and warranties were part of the basis of the bargain, in that
 9   he would not have purchased the Hand Sanitizer from Defendant if he had known
10   that it was not, in fact, properly manufactured and free from defects.
11          26.   Mr. Saiki also purchased the Hand Sanitizer based on the
12   representations on the label that the Hand Sanitizer was made with “Natural
13   Elements,” that the Hand Sanitizer “shield[s] yours hand from germs & infection
14   naturally,” that the Hand Sanitizer is “plant based,” and also relied on Defendant’s
15   name, which includes the word “natural.” Mr. Saiki would not have purchased the
16   Hand Sanitizer had he known the Hand Sanitizer was not “natural,” but in fact
17   contained an ingredient that was a harmful chemical impurity (i.e., a non-natural
18   ingredient). Mr. Saiki paid a price premium for the Hand Sanitizer over and above
19   other hand sanitizers that did not purport to be natural.
20          27.   Defendant Virgin Scent, Inc. d/b/a Artnaturals, Inc. is a corporation
21   incorporated in the state of California with a principal place of business at 16325
22   South Avalon Boulevard, Gardena, California 90248. Defendant conducts
23   substantial business throughout the United States and in the States of California and
24   Illinois.
25                              JURISDICTION AND VENUE
26          28.   This Court has subject matter jurisdiction over this action pursuant to 28
27   U.S.C. § 1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005,
28
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 1   because at least one member of the Class, as defined below, is a citizen of a different
 2   state than Defendant, there are more than 100 members of the Class, and the
 3   aggregate amount in controversy exceeds $5,000,000 exclusive of interest and costs.
 4         29.    This Court has personal jurisdiction over this action because Defendant
 5   is incorporated and maintains its principal place of business in California.
 6         30.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because
 7   Defendant maintains its principal place of business in this District.
 8                            CLASS ACTION ALLEGATIONS
 9         31.    Plaintiffs seek to represent a class defined as all persons in the United
10   States who purchased the Hand Sanitizer (the “Class”). Plaintiffs also seek to
11   represent a subclass of all Class members who purchased the Hand Sanitizer in
12   Illinois (the “Subclass”).
13         32.    The Class and the Subclass shall collectively be referred to as the
14   “Classes.”
15         33.    Subject to additional information obtained through further investigation
16   and discovery, the foregoing definitions of the Classes may be expanded or narrowed
17   by amendment to the complaint or narrowed at class certification.
18         34.    Specifically excluded from the Classes are Defendant, Defendant’s
19   officers, directors, agents, trustees, parents, children, corporations, trusts,
20   representatives, employees, principals, servants, partners, joint ventures, or entities
21   controlled by Defendant, and their heirs, successors, assigns, or other persons or
22   entities related to or affiliated with Defendant and/or Defendant’s officers and/or
23   directors, the judge assigned to this action, and any member of the judge’s immediate
24   family.
25
           35.    Numerosity. The members of the proposed Classes are geographically
26
     dispersed throughout the United States and are so numerous that individual joinder is
27
     impracticable. Upon information and belief, Plaintiffs reasonably estimate that there
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 1   are hundreds of thousands of individuals that are members of the proposed Classes.
 2   Although the precise number of proposed members are unknown to Plaintiffs, the
 3   true number of members of the Classes are known by Defendant. Members of the
 4   Classes may be notified of the pendency of this action by mail and/or publication
 5   through the distribution records of Defendant and third-party retailers and vendors.
 6         36.         Typicality. The claims of the representative Plaintiffs are typical of the
 7   claims of the Classes in that the representative Plaintiffs, like all members of the
 8   Classes, purchased the Hand Sanitizer, which was worthless and falsely labeled as
 9   “natural” due to the presence of Benzene, a harmful and carcinogenic chemical
10   impurity. The representative Plaintiffs, like all members of the Classes, have been
11   damaged by Defendant’s misconduct in the very same way as the members of the
12   Classes. Further, the factual bases of Defendant’s misconduct are common to all
13   members of the Classes and represent a common thread of misconduct resulting in
14   injury to all members of the Classes.
15         37.         Existence and predominance of common questions of law and fact.
16   Common questions of law and fact exist as to all members of the Classes and
17   predominate over any questions affecting only individual members of the Classes.
18   These common legal and factual questions include, but are not limited to, the
19   following:
20               (a)      whether the Hand Sanitizer manufactured by Defendant contains
21                        dangerously high levels of Benzene, thereby breaching the implied
22                        warranties made by Defendant and making Hand Sanitizer unfit for
23                        human use and therefore unfit for its intended purpose;
24
                 (b)      whether Defendant knew or should have known that Hand Sanitizer
25
                          contained elevated levels of Benzene prior to selling it, thereby
26
                          constituting fraud and/or fraudulent concealment;
27
                 (c)      whether the Hand Sanitizer falsely represents that it contains
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                              11
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 1                        “Natural Elements,” that the Hand Sanitizer “shield[s] your hands
 2                        from germs & infection naturally,” that the Hand Sanitizer is “plant
 3                        based,” and that the Hand Sanitizer is naturally made based on
 4                        Defendant’s name, which includes the word “natural,” in light of the
 5                        presence of Benzene;
 6
                 (d)      whether Defendant has unlawfully converted money from Plaintiffs
 7
                          and the Classes;
 8
                 (e)      whether Defendant is liable to Plaintiffs and the Classes for unjust
 9
                          enrichment;
10
11               (f)      whether Defendant is liable to Plaintiff and the Classes for fraudulent

12                        concealment;

13               (g)      whether Plaintiffs and the Classes have sustained monetary loss and
14                        the proper measure of that loss;
15
                 (h)      whether Plaintiffs and the Classes are entitled to declaratory and
16
                          injunctive relief;
17
                 (i)      whether Plaintiffs and the Classes are entitled to restitution and
18
                          disgorgement from Defendant; and
19
20               (j)      whether the marketing, advertising, packaging, labeling, and other

21                        promotional materials for the Hand Sanitizer are deceptive.

22         38.         Adequacy of Representation. Plaintiffs will fairly and adequately

23   protect the interests of the Classes. Plaintiffs have retained counsel who are highly

24   experienced in complex consumer class action litigation, and Plaintiffs intend to

25   vigorously prosecute this action on behalf of the Classes. Plaintiffs have no interests

26   that are antagonistic to those of the Classes.

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 1         39.    Superiority. A class action is superior to all other available means for
 2   the fair and efficient adjudication of this controversy. The damages or other
 3   financial detriment suffered by members of the Classes are relatively small compared
 4   to the burden and expense of individual litigation of their claims against Defendant.
 5   It would, thus, be virtually impossible for members of the Classes, on an individual
 6   basis, to obtain effective redress for the wrongs committed against them.
 7   Furthermore, even if members of the Classes could afford such individualized
 8   litigation, the court system could not. Individualized litigation would create the
 9   danger of inconsistent or contradictory judgments arising from the same set of facts.
10   Individualized litigation would also increase the delay and expense to all parties and
11   the court system from the issues raised by this action. By contrast, the class action
12   device provides the benefits of adjudication of these issues in a single proceeding,
13   economies of scale, and comprehensive supervision by a single court, and presents
14   no unusual management difficulties under the circumstances.
15         40.    In the alternative, the Classes may be certified because:
16
                  (a)   the prosecution of separate actions by individual members of the
17                      Classes would create a risk of inconsistent or varying adjudication
                        with respect to individual members of the Classes that would
18
                        establish incompatible standards of conduct for the Defendant;
19                (b)   the prosecution of separate actions by individual members of the
20                      Classes would create a risk of adjudications with respect to them
                        that would, as a practical matter, be dispositive of the interests of
21                      other members of the Classes not parties to the adjudications, or
22                      substantially impair or impede their ability to protect their
                        interests; and/or
23
24                (c)   Defendant has acted or refused to act on grounds generally
                        applicable to the Classes as a whole, thereby making appropriate
25                      final declaratory and/or injunctive relief with respect to the
26                      members of the Class as a whole.

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 1                                  CAUSES OF ACTION

 2                                        COUNT I
                                      Unjust Enrichment
 3
           41.    Plaintiffs hereby incorporate by reference the allegations contained in
 4
     all preceding paragraphs of this complaint.
 5
           42.    Plaintiffs bring this claim individually and on behalf of the members of
 6
     the proposed Classes against Defendant.
 7
           43.    Plaintiffs and the Classes conferred a benefit on Defendant in the form
 8
     of monies paid to purchase Defendant’s defective and worthless Hand Sanitizer.
 9
           44.    Plaintiffs and the Classes also conferred a benefit on Defendant in the
10
     form of the price premium paid based on the “natural” representations on the Hand
11
     Sanitizer.
12
           45.    Defendant voluntarily accepted and retained this benefit.
13
           46.    Because this benefit was obtained unlawfully, namely by selling and
14
     accepting compensation for Hand Sanitizer unfit for human use, and by falsely
15
     representing that the Hand Sanitizer was a “natural” product and accepting the price
16
     premium paid based on that representation, it would be unjust and inequitable for
17
     Defendant to retain the benefit without paying the value thereof.
18
                                         COUNT II
19                                 Fraudulent Concealment
20         47.    Plaintiffs hereby incorporate by reference the allegations contained in
21   all preceding paragraphs of this complaint.
22         48.    Plaintiffs bring this claim individually and on behalf of the members of
23   the proposed Classes against Defendant.
24         49.    Defendant had a duty to disclose material facts to Plaintiffs and the
25   Classes given their relationship as contracting parties and intended users of the Hand
26   Sanitizer. Defendant also had a duty to disclose material facts to Plaintiff sand the
27   Classes, namely that it was in fact manufacturing, distributing, and selling harmful
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                            14
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 1   Hand Sanitizer unfit for human use, because Defendant had superior knowledge such
 2   that the transactions without the disclosure were rendered inherently unfair.
 3         50.    Defendant possessed knowledge of these material facts. Since at least
 4   mid-2020, the FDA has put Defendant on notice that it was investigating adulterated
 5   hand sanitizer products. During this time, Plaintiffs and members of the Classes
 6   were using the Hand Sanitizer without knowing it contained dangerous levels of
 7   Benzene.
 8         51.    Defendant failed to discharge its duty to disclose these materials facts.
 9   Quite the contrary, Defendant boasted about its safety record to Plaintiffs and the
10   Classes.
11         52.    In so failing to disclose these material facts to Plaintiffs and the Classes,
12   Defendant intended to hide from Plaintiffs and the Classes that they were purchasing
13   and consuming the Hand Sanitizer with harmful defects that was unfit for human
14   use, and thus acted with scienter and/or an intent to defraud.
15         53.    Plaintiffs and the Classes reasonably relied on Defendant’s failure to
16   disclose insofar as they would not have purchased the defective Hand Sanitizer
17   manufactured sold by Defendant had they known it contained unsafe levels of
18   Benzene.
19         54.    As a direct and proximate cause of Defendant’s fraudulent concealment,
20   Plaintiffs and the Classes suffered damages in the amount of monies paid for the
21   defective Hand Sanitizer.
22         55.    As a result of Defendant’s willful and malicious conduct, punitive
23   damages are warranted.
24                                         COUNT III
                                             Fraud
25
           56.    Plaintiffs hereby incorporate by reference the allegations contained in
26
     all preceding paragraphs of this complaint.
27
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                           15
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 1          57.    Plaintiffs bring this claim individually and on behalf of the members of
 2   the proposed Classes against Defendant.
 3          58.    As discussed above, Defendant provided Plaintiffs and members of the
 4   Classes with materially false or misleading information about the Hand Sanitizer
 5   manufactured by Defendant. Specifically, Defendant have marketed the Hand
 6   Sanitizer as (i) safe for human use, and (ii) a “natural” hand sanitizer. As indicated
 7   above, however, these representations are false and misleading as Defendant’s Hand
 8   Sanitizer contained elevated levels of Benzene, and carcinogenic and toxic chemical
 9   impurity.
10          59.    The misrepresentations and omissions of material fact made by
11   Defendant, upon which Plaintiffs and members of the Classes reasonably and
12   justifiably relied, were intended to induce and actually induced Plaintiffs and
13   members of the Classes to purchase defective and falsely labeled Hand Sanitizer.
14          60.    Defendant knew or should have known that its Hand Sanitizer was
15   contaminated with this harmful impurity—and was also therefore not a “natural”
16   hand sanitizer—but continued to manufacture it nonetheless. Since at least mid-
17   2020, the FDA has put Defendant on notice that it was investigating adulterated hand
18   sanitizer products. During this time, Plaintiffs and members of the Classes were
19   using the Hand Sanitizer without knowing it contained dangerous levels of Benzene.
20          61.    The fraudulent actions of Defendant caused damage to Plaintiffs and
21   members of the Classes, who are entitled to damages and other legal and equitable
22   relief as a result.
23          62.    As a result of Defendant’s willful and malicious conduct, punitive
24   damages are warranted.
25                                         COUNT IV
                                           Conversion
26
            63.    Plaintiffs hereby incorporate by reference the allegations contained in
27
     all preceding paragraphs of this complaint.
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                            16
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 1         64.      Plaintiffs bring this claim individually and on behalf of the members of
 2   the proposed Classes against Defendant.
 3         65.      Plaintiffs and the Classes have an ownership right to the monies paid for
 4   the defective and falsely labeled Hand Sanitizer manufactured by Defendant.
 5         66.      Defendant has wrongly asserted dominion over the payments illegally
 6   diverted to them for the defective and falsely labeled Hand Sanitizer. Defendant has
 7   done so every time that Plaintiffs and the Classes bought the Hand Sanitizer.
 8         67.      As a direct and proximate cause of Defendant’s conversion, Plaintiffs
 9   and the Classes suffered damages in the amount of the payments made for each time
10   they bought the Hand Sanitizer, and the price premium they paid based on the
11   representations that the Hand Sanitizer was a “natural” product.
12                                         COUNT V
                    Violation Of California’s Consumers Legal Remedies Act,
13                            California Civil Code §§ 1750, et seq.
14                                   (Equitable Relief Only)
           68.      Plaintiffs hereby incorporate by reference the allegations contained in
15
     all preceding paragraphs of this complaint.
16
           69.      Plaintiffs bring this claim individually and on behalf of the members of
17
     the proposed Classes against Defendant.
18
           70.      California’s Consumers Legal Remedies Act, Cal. Civ. Code
19
     § 1770(a)(5), prohibits “[r]epresenting that goods or services have sponsorship,
20
     approval, characteristics, ingredients, uses, benefits, or quantities which they do not
21
     have or that a person has a sponsorship, approval, status, affiliation, or connection
22
     which he or she does not have.”
23
           71.      California’s Consumers Legal Remedies Act, Cal. Civ. Code
24
     § 1770(a)(7), prohibits “[r]epresenting that goods or services are of a particular
25
     standard, quality, or grade, or that goods are of a particular style or model, if they are
26
     of another.”
27
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                             17
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 1         72.    California’s Consumers Legal Remedies Act, Cal. Civ. Code
 2   § 1770(a)(9), disallows “[a]dvertising goods or services with intent not to sell them
 3   as advertised.”
 4         73.    Defendant is a “person” within the meaning of California Civil Code
 5   sections 1761(c) and 1770 and provided “goods” within the meaning of sections
 6   1761(a) and 1770.
 7         74.    Plaintiffs, the other members of the Classes, and Defendant have
 8   engaged in “transactions,” as that term is defined by California Civil Code § 1761(e).
 9         75.    Defendant’s acts and practices, as alleged in this complaint, violate the
10   CLRA because they include unfair and deceptive acts and practices in connection
11   with transactions (the sale of the Hand Sanitizer).
12         76.    As alleged more fully above, Defendant violated the CLRA by falsely
13   representing to Plaintiffs and the other members of the Classes that Hand Sanitizer
14   (i) would not contain elevated levels of Benzene and (ii) is generally recognized as
15   safe for human use. In fact, the Hand Sanitizer contained elevated levels of Benzene
16   and was not safe for human use.
17         77.    Further, as alleged more fully above, Defendant violated the CLRA by
18   falsely representing to Plaintiffs and the other members of the Classes that Hand
19   Sanitizer was made “naturally” or was a “natural” product. In fact, the Hand
20   Sanitizer contained the chemical impurity Benzene, and was therefore not “natural.”
21         78.    These misrepresentations constitute “unfair or deceptive acts or
22   practices” that are prohibited by the CLRA, Cal. Civ. Code §§ 1770(a)(5); 1770
23   (a)(7); 1770(a)(9); 1770(a)(16).
24         79.    Further, Defendant concealed from and failed to disclose to Plaintiffs
25   and the Classes that its Hand Sanitizer did not conform to the product’s labels,
26   packaging, advertising, and statements in that it contained elevated levels of
27   Benzene, was not safe for human use, and was not a “natural” product.
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                           18
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 1         80.    Defendant had a duty to disclose to Plaintiff sand members of the
 2   Classes the true quality, characteristics, ingredients, nutrient levels, and suitability of
 3   the Hand Sanitizer because Defendant was in a superior position to know the true
 4   nature of their products and Defendant knew that Plaintiffs and members of the
 5   Classes could not reasonably have been expected to learn or discover that the Hand
 6   Sanitizer was misrepresented in the packaging, labels, advertising, and websites prior
 7   to purchasing the Hand Sanitizer.
 8         81.    The facts concealed or not disclosed by Defendant to Plaintiffs and
 9   members of the Classes were material in that a reasonable consumer would have
10   considered them important when deciding whether to purchase the Hand Sanitizer.
11         82.    Plaintiffs and members of the Classes’ reliance on these omissions was
12   reasonable given Defendant’s advertising, representations, warranties, and general
13   promotions of the Hand Sanitizer.
14         83.    Plaintiff and members of the Classes did not know that Defendant was
15   concealing or otherwise omitting material facts.
16         84.    As a direct and proximate result of Defendant’s violations, Plaintiffs
17   and the Classes are entitled to injunctive relief ensuring (i) Defendant issues a recall
18   of its Hand Sanitizer and complies with all proper quality and safety standards going
19   forward, and (ii) Defendant ceases to label the Hand Sanitizer as a “natural” product,
20   and ceases to make the “natural” claims alleged above in its marketing, labeling, and
21   sale of the Hand Sanitizer.
22         85.    On April 5, 2021, prior to filing this action, a CLRA notice letter was
23   sent to Defendant that complies in all respects with California Civil Code § 1782(a).
24   Plaintiffs’ counsel sent Defendant the letter via certified mail, return receipt
25   requested, advising Defendant that it is in violation of the CLRA and demanding that
26   it cease and desist from such violations. A true and correct copy of Plaintiffs’ CLRA
27   letter is attached hereto as Exhibit A.
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                             19
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 1                                       COUNT VI
                     Violation Of California’s Unfair Competition Law,
 2                 California Business & Professions Code §§ 17200, et seq.
 3         86.     Plaintiffs hereby incorporate by reference the allegations contained in
 4   all preceding paragraphs of this complaint.
 5         87.     Plaintiffs bring this claim individually and on behalf of the members of
 6   the proposed Classes against Defendant.
 7         88.     By committing the acts and practices alleged herein, Defendant violated
 8   California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et
 9   seq. as to the Classes, by engaging in unlawful, fraudulent, and unfair conduct.
10         89.     Defendant violated the UCL’s proscription against engaging in unlawful
11   conduct as a result of its violations of the CLRA, Cal. Civil Code §§ 1770(a)(5), (a)(7)
12   and (a)(9).
13         90.     Defendant’s acts and practices described above violate the UCL’s
14   proscription against engaging in fraudulent conduct.
15         91.     As more fully described above, Defendant marketed the Hand Sanitizer
16   as safe for human use. As indicated above, however, these representations are false
17   and misleading as Defendant’s Hand Sanitizer contained elevated levels of Benzene.
18   These representations were likely to deceive reasonable consumers.
19         92.     Further, as more fully described above, Defendant marketed the Hand
20   Sanitizer as a “natural” product. As indicated above, however, these representations
21   are false and misleading as Defendant’s Hand Sanitizer contained elevated levels of
22   Benzene, a carcinogenic chemical impurity. These representations were likely to
23   deceive reasonable consumers.
24         93.     Defendant’s acts and practices described above also violate the UCL’s
25   proscription against engaging in unfair conduct.
26         94.     Plaintiffs and the other members of the Classes suffered a substantial
27   injury by virtue of buying the Hand Sanitizer that they would not have purchased
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                            20
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 1   absent Defendant’s unlawful, fraudulent, and unfair marketing, advertising,
 2   packaging, and omission about the contaminated and non-natural nature of its Hand
 3   Sanitizer, or by virtue of paying an excessive premium price for the unlawfully,
 4   fraudulently, and unfairly marketed, advertised, packaged, and labeled Hand
 5   Sanitizer.
 6         95.    There is no benefit to consumers or competition from deceptively
 7   marketing and omitting material facts about the contaminated and non-natural nature
 8   of the Hand Sanitizer.
 9         96.    Plaintiffs and the other members of the Classes had no way of reasonably
10   knowing that the Hand Sanitizer they purchased was not as marketed, advertised,
11   packaged, or labeled. Plaintiff and the other member of the Classes are not able to
12   test for the presence of Benzene in their Hand Sanitizer. Thus, Plaintiffs and the other
13   members of the Classes could not have reasonably avoided the injury each of them
14   suffered.
15         97.    The gravity of the consequences of Defendant’s conduct as described
16   above outweighs any justification, motive, or reason therefore, particularly
17   considering the available legal alternatives which exist in the marketplace, and such
18   conduct is immoral, unethical, unscrupulous, offends established public policy, or is
19   substantially injurious to Plaintiffs and the other members of the Classes.
20         98.    Defendant’s violation has continuing and adverse effects because
21   Defendant’s unlawful conduct is continuing, with no indication that Defendant intends
22   to cease this fraudulent course of conduct. The public and class members are subject
23   to ongoing harm because Defendant has not issued a recall for its contaminated Hand
24   Sanitizer, nor changed its marketing and labeling to cease labeling the Hand Sanitizer
25   as a “natural” product.
26         99.    Plaintiffs and the members of the Classes lost money or property as a
27   result of Defendant’s UCL violations because: (a) they would not have purchased the
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         21
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 1   Hand Sanitizer on the same terms if they knew that the Hand Sanitizer contained
 2   harmful levels of Benzene, and is not generally recognized as safe for human use; (b)
 3   they would not have purchased the Hand Sanitizer on the same terms if they knew that
 4   the Hand Sanitizer was not a natural product, and (c) the Hand Sanitizer does not have
 5   the characteristics, ingredients, uses, or benefits as promised by Defendant.
 6         100. Pursuant to California Business and Professional Code § 17203,
 7   Plaintiffs and the Classes seek an order of this Court that includes, but is not limited
 8   to, an order requiring Defendant to: (a) provide restitution to Plaintiffs and the other
 9   member of the Classes; (b) disgorge all revenues obtained as a result of violations of
10   the UCL; (c) pay Plaintiffs’ and the Classes’ attorney’s fees and costs.
11                                       COUNT VII
12                     Violation Of California’s False Advertising Law,
                    California Business & Professions Code §§ 17500, et seq.
13
           101. Plaintiffs hereby incorporate by reference the allegations contained in
14
     all preceding paragraphs of this complaint.
15
           102. Plaintiffs bring this claim individually and on behalf of the members of
16
     the proposed Classes against Defendant.
17
           103. California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500,
18
     et seq., makes it “unlawful for any person to make or disseminate or cause to be
19
     made or disseminated before the public in this state … in any advertising device …
20
     or in any other manner or means whatever, including over the Internet, any
21
     statement, concerning … personal property or services, professional or otherwise, or
22
     performance or disposition thereof, which is untrue or misleading and which is
23
     known, or which by the exercise of reasonable care should be known, to be untrue or
24
     misleading.”
25
           104. Defendant committed acts of false advertising, as defined by §17500, by
26
     misrepresenting that the Hand Sanitizer was a “natural” product, as more fully
27
     alleged above.
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         22
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 1         105. Defendant also committed acts of false advertising, as defined by
 2   §17500, by failing to disclose that the Hand Sanitizer contained Benzene, a
 3   carcinogenic chemical impurity, which rendered the Hand Sanitizer unsafe for
 4   human use.
 5         106. Defendant knew or should have known, through the exercise of
 6   reasonable care that its representations about the Hand Sanitizer were untrue and
 7   misleading.
 8         107. Defendant’s actions in violation of § 17500 were false and misleading
 9   such that the general public is and was likely to be deceived.
10         108. Plaintiffs and the Classes lost money or property as a result of
11   Defendant’s FAL violations because: (a) they would not have purchased the Hand
12   Sanitizer on the same terms if the true facts were known about the product; (b) they
13   paid a price premium for the Hand Sanitizer due to Defendant’s promises that it was
14   “natural” product, (c) the Hand Sanitizer was worthless because it contained elevated
15   levels of the carcinogen, Benzene, and was therefore not safe for human use, and (d)
16   the Hand Sanitizer did not have the characteristics as promised by Defendant.
17                                 PRAYER FOR RELIEF
18         WHEREFORE, Plaintiffs respectfully request, individually and on behalf of
19   the alleged Classes, that the Court enter judgment in their favor and against
20   Defendant as follows:
21                 (a)   For an order certifying the Classes under Rule 23 of the Federal
                         Rules of Civil Procedure and naming Plaintiffs as the
22                       representative for the Classes and Plaintiffs’ attorneys as Class
23                       Counsel;

24                 (b)   For an order declaring the Defendant’s conduct violates the
                         causes of action referenced herein;
25
                   (c)   For an order finding in favor of Plaintiffs and the Classes on all
26                       counts asserted herein;
27
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                             23
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 1                 (d)    For compensatory, statutory, and punitive damages in amounts to
                          be determined by the Court and/or jury;
 2
                   (e)    For prejudgment interest on all amounts awarded;
 3
                   (f)    For an order of restitution and all other forms of equitable
 4                        monetary relief;
 5
                   (g)    For injunctive relief as pleaded or as the Court may deem proper;
 6                        and
 7                 (h)    For an order awarding Plaintiffs and the Classes their reasonable
 8                        attorneys’ fees and expenses and costs of suit.
                                 DEMAND FOR JURY TRIAL
 9
            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by
10
      jury of any and all issues in this action so triable as of right.
11
12
     Dated: April 5, 2021                      Respectfully Submitted,
13
                                               BURSOR & FISHER, P.A.
14
15                                             By:    /s/ Yeremey Krivoshey
                                                          Yeremey Krivoshey
16
17                                             L. Timothy Fisher (State Bar No. 191626)
                                               Yeremey Krivoshey (State Bar No. 295032)
18                                             1990 North California Blvd., Suite 940
                                               Walnut Creek, CA 94596
19                                             Telephone: (925) 300-4455
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20                                             E-Mail: ltfisher@bursor.com
21                                                     ykrivoshey@bursor.com

22                                             Attorneys for Plaintiffs
23
24
25
26
27
28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                         24
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                                                           EXHIBIT A
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1990 N. California Blvd.                                               Y           KRIVOSHEY
                                                                           E R E M E Y
SUITE 940                                                                     Tel: 9 2 5 . 3 0 0 . 4 4 5 5
WALNUT CREEK, CA 94596                                                        Fax: 9 2 5 . 4 0 7 . 2 7 0 0
www.bursor.com                                                         ykrivoshey@bursor.com



                                             April 5, 2021

Via Certified Mail - Return Receipt Requested

Virgin Scent, Inc. d/b/a Artnaturals, Inc.
16325 South Avalon Boulevard
Gardena, California 90248

Re:    Notice and Demand Letter Pursuant to U.C.C. § 2-607; California Civil Code § 1782;
       Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1, et seq.;
       and all other relevant state and local laws

To Whom It May Concern:

        This letter serves as a preliminary notice and demand for corrective action by Defendant
Virgin Scent, Inc. d/b/a Artnaturals, Inc. (“Artnaturals” or “Defendant”) pursuant to U.C.C.
§ 2-607(3)(a) concerning breaches of express and implied warranties – and violations of state
consumer protection laws, including but not limited to subsections (a)(5), (7), and (9) of the
Consumers Legal Remedies Act, Civil Code § 1770 – related to our clients, Kaila Saiki and
Raymond Saiki, and a class of all similarly situated purchasers (the “Class”) of defective and
falsely labeled hand sanitizer manufactured and sold by Artnaturals.

        Our clients purchased a model of hand sanitizer labeled as “artnaturals hand sanitizer
SCENT FREE NATURAL ELEMENTS + CLEANSING FORMULA 8 fl oz (236 ml)” (the
“Hand Sanitizer”) in Illinois. The Hand Sanitizer was manufactured by Defendant in California
and sold by Defendant in Illinois and across the United States. Our clients’ Hand Sanitizer was
defective in that it contained elevated levels of Benzene, a carcinogenic and toxic chemical
impurity that has been lined to leukemia and other cancers. On March 24, 2021, Valisure, an
online pharmacy registered with the FDA, “detected high levels of benzene and other
contaminants in specific batches of hand sanitizer products containing active pharmaceutical
ingredients of ethanol and isopropanol.”1 This included the Hand Sanitizer manufactured by
Defendant, which contained between 15.2 to 16.1 parts per million of Benzene.2 Notably, the
Hand Sanitizer is a gel product, meaning there is no acceptable level of Benzene in the Hand
Sanitizer.
1
  VALISURE, VALISURE CITIZEN PETITION ON HAND SANITIZER PRODUCTS CONTAINING BENZENE
CONTAMINATION AND OTHER SIGNIFICANT ISSUES, Mar. 24, 2021, https://www.valisure.com/wp-
content/uploads/Valisure-FDA-Citizen-Petition-on-Hand-Sanitizer-v4.14.pdf (the “Valisure
Petition”), at 1.
2
  Id. at 14.
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        Further, Defendant has represented that the Hand Sanitizer uses “Natural Elements,”
allows consumers to “shield [their] hand from germs & infection naturally,” and that the Hand
Sanitizer is “plant based.” Defendant even has the word “natural” in its name. In other words,
Defendant has represented that the Hand Sanitizer is a “natural” product. These representations
are false and misleading, however, because the Hand Sanitizer contains Benzene, a carcinogenic
and toxic chemical impurity.

         In short, the Hand Sanitizer that our clients and the Class purchased are worthless, as
they contain Benzene, rendering them unusable and unfit for humans. Further, our clients and
the Class paid a price premium for the Hand Sanitizer based on the representations that the Hand
Sanitizer was a “natural” product, which in fact was not true. Defendant violated express and
implied warranties made to our clients and the Class regarding the quality and safety of the Hand
Sanitizer they purchased. See U.C.C. §§ 2-313, 2-314.

         This letter also serves as notice of violation of the Illinois Consumer Fraud and Deceptive
Business Practices Act, 815 ILCS 505/1, et seq. (“ICFA”), and all other relevant state and local
laws. Defendant violated the ICFA by failing to disclose that the Hand Sanitizer contained
elevated levels of Benzene, rendering the Hand Sanitizer unsafe for human use. Defendant also
violated the ICFA by representing that the Hand Sanitizer was a “natural” product as described
above, which is not true because the Hand Sanitizer contained Benzene, a carcinogenic chemical
impurity. Defendant knew or should have known about these facts. As a result of Defendant’s
violation of the ICFA, our clients and a subclass of all purchasers of the Hand Sanitizer in
Illinois sustained injury.

         On behalf of our clients and the Class, we hereby demand that Defendant immediately
(1) cease and desist from continuing to sell the defective Hand Sanitizer, (2) cease and desist
from falsely representing that the Hand Sanitizer is a “natural” product, and (3) make full
restitution to all purchasers of the defective and falsely labeled Hand Sanitizer of all purchase
money obtained from sales thereof.

        We also demand that Defendant preserve all documents and other evidence which refers
or relates to any of the above-described practices including, but not limited to, the following:

       1.      All documents concerning the packaging, labeling, and manufacturing
               process for Defendant’s Hand Sanitizer;

       2.      All documents concerning the design, development, supply, production,
               extraction, and/or testing of the Hand Sanitizer manufactured by
               Defendant;

       3.      All tests of the Hand Sanitizer manufactured by Defendant;

       4.      All documents concerning the pricing, advertising, marketing, and/or sale
               of the Hand Sanitizer manufactured by Defendant;
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       5.      All communications with customers involving complaints or comments
               concerning the Hand Sanitizer manufactured by Defendant;

       6.      All documents concerning communications with any retailer involved in
               the marketing or sale of the Hand Sanitizer manufactured by Defendant;

       7.      All documents concerning communications with federal or state regulators; and

       8.      All documents concerning the total revenue derived from sales of the Hand
               Sanitizer.

       If you contend that any statement in this letter is inaccurate in any respect, please provide
us with your contentions and supporting documents immediately upon receipt of this letter.

        Please contact me right away if you wish to discuss an appropriate way to remedy this
matter. If I do not hear from you promptly, I will take that as an indication that you are not
interested in doing so.

                                                      Very truly yours,




                                                      Yeremey O. Krivoshey
